This is an appeal by Walter L. Howard and Gustave J. Romo, who were named alternate executors in the will of Dan F. Roseman, deceased, from an order refusing to remove the present executor of said estate.
The case arose in this manner. Dan F. Roseman died April 15, 1943, in Ray, Pinal County, Arizona. He left two wills, one dated August, 1928, with a codicil thereto executed in February, 1943, and a later will executed April 12, 1943. The latter named Tom MacKenzie and William P. Roseman (deceased's brother) as executors, and appellants herein as alternate executors.
The first action taken in the estate was that of D.V. Mulhern (now attorney for appellee herein) who applied for and was granted special letters of administration of deceased's estate in December, 1943. On March 4, 1944, Tom MacKenzie applied for letters testamentary under the last will for appellants herein as alternate executors, stating that he declined to act and that the other named executor, William P. Roseman, was a nonresident. Then William P. Roseman applied for letters testamentary under the first will; asked the court to ascertain which will was the legal will of deceased; and objected to the appointment of Howard and Romo as executors. The two probate petitions were consolidated and heard at the same time before the Honorable W.C. Truman, resident judge of the superior court of Pinal county, on April 10, 1944. At that hearing the lower court admitted the will of April 12, 1943, to probate; denied Howard and Romo the right to act as executors; and appointed appellee William P. Roseman as executor, who then entered upon his duties as such.
Appellee as executor brought a civil action in Pinal county against Tom MacKenzie for the return of a building and loan certificate in his possession alleged to belong to the estate reputedly worth $12,500.
Two years and five months later, in September, 1946, appellants petitioned the court for removal of William P. Roseman as executor on the ground that "he was not at the time of his appointment a resident and has not since been and he is not now a resident of the state of Arizona." The court below by an ex parte order suspended the appellee's power as executor, and cited him to show cause why he should not be permanently removed as executor. The parties stipulated to the assignment of the case to Honorable Henry C. Kelly, Judge of Superior Court of Yuma County. The matter was heard on March 11, 1947. The trial court thereupon vacated the previous order suspending the appellee's powers, and denied appellants' petition to be appointed as executors, from which orders they appeal.
The basis for the appeal was that appellee, after his appointment as executor, *Page 200 
left the state for nearly two and one half years and did not return until cited to do so, and therefore disqualified himself to further act as executor.
Appellees move for dismissal of the appeal on the grounds (1) that appellants have no interest in the estate that gives them the right to appeal; and (2) that the matter is res judicata as to Judge Truman's hearing, and this appeal is only by implication or insinuation an appeal from Judge Kelly's order. Further, appellees contend, on the merits of the case, that the evidence establishes that appellee was on April 10, 1944, has been since, and now is a bona fide resident of Arizona.
We believe this matter can be effectually disposed of by dismissing the appeal on the ground that appellants have no interest in the estate that would entitle them to appeal. Section 21-1701, Arizona Code Annotated 1939, provides: "A judgment or order in a civil action or proceeding may be reviewed by appeal as prescribed in this chapter (article), and not otherwise; such an appeal may be taken by any party aggrieved by such judgment or order."
We have heretofore held that to be a party aggrieved there must be a denial of some personal or property right to the party by the decree, and such denial must come as a direct result of the decree, and not merely as a result in some other proceeding of the application of a legal principle established in the decree appealed from. Burmister v. Prescott, 38 Ariz. 66, 297 P. 443.
Appellants knew they were named as alternate executors. They were both witnesses to the last will and testament of deceased, dated April 12, 1943. No action was taken by any one until seven months later when D.V. Mulhern was appointed special administrator. One year after deceased's death, MacKenzie applied for letters testamentary, not for himself, however, but for the alternates (appellants herein). It was three and one half years after the death of Dan Roseman before appellants took any action themselves, and the testimony of both appellants at the trial before the lower court conclusively showed that they had no interest in the estate except to further the interests of Tom MacKenzie. The latter's lawyer prepared the petition for appellants to remove appellee. Howard testified that he would be guided by MacKenzie's lawyer for advice, and Romo refused to answer when asked if he didn't sign the petition praying for appellee's removal at the request of MacKenzie's attorney. The evidence is irrefutable that their interest was that of MacKenzie rather than the good of the estate.
Section 38-204, A.C.A. 1939, provides as follows: "Executor failing to petition for probate. — If the person named in a will as executor, for thirty (30) days after he has knowledge of the death of the testator, *Page 201 
and that he is named as executor, fails to petition the proper court for the probate of the will, and that letters testamentary be issued to him, he renounces his right to letters, and the court may appoint any competent person administrator with the will annexed, unless good cause for the delay is shown."
In construing said statute we have heretofore held: "The claim by contestants that it was error for the court to refuse to appoint Honorene M. Parker as administratrix with the will annexed upon their request, we next consider. Contestant Helen L. Welch was named in the will as executrix, but not being a resident of Arizona she was not competent to serve. Section 38-302. If she had been competent to act as executrix, it was her duty under the statute to petition for letters within 30 days after she knew of decedent's death, which she did not do. Such delay is, under the statute, a renunciation of the right to have letters and authorizes and empowers the court to `appoint any competent person administrator with the will annexed.' Section 38-204. * * *" In re Welch's Estate, 60 Ariz. 215, 134 P.2d 701,703.
The only possible interest the appellants could have in said estate (they being neither legatees, heirs, nor creditors) would be the right to their fee as executors; but by their inaction even this right they renounced. Hence, they have no right to appeal.
Appeal dismissed.
UDALL and STANFORD, JJ., concur.
Note: Due to illness, the CHIEF JUSTICE did not participate in determining this appeal.